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 8                                   UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
12                     Plaintiff,                            No. 2:06-CR-0058 FCD
13              v.
14   IOSIF CAZA, et. al.                                     RELATED CASE ORDER
15               Defendants.
     ________________________________/
16
     VASILE SIMONCA,
17
                       Plaintiff,                            No. 2:08-CV-1453 MCE GGH
18
                v.
19
     MICHAEL CHERTOFF, Secretary of
20   Homeland Security, et. al.,
21               Defendants.
     ________________________________/
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23              Examination of the above-entitled actions reveals that they are related within the meaning
24   of Local Rule 83-123(a) (E.D. Cal. 1997). The actions involve many of the same parties and are
25   based on the same or similar claims, the same property transaction or event, similar questions of
26   fact and the same questions of law, and would therefore entail a substantial duplication of labor
27   if heard by different judges. Accordingly, the assignment of the matters to the same judge is
28   likely to effect a substantial savings of judicial effort and is also likely to be convenient for the
     parties.
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 1          The parties should be aware that relating the cases under Local Rule 83-123 merely has
 2   the result that these actions are assigned to the same judge; no consolidation of the actions is
 3   effected. Under the regular practice of this court, related cases are generally assigned to the
 4   judge and magistrate judge to whom the first filed action was assigned.
 5          IT IS THEREFORE ORDERED that the action denominated, CIV.S-08-1453 MCE GGH
 6   is are reassigned to Judge Frank C. Damrell, Jr. for all further proceedings, and any dates
 7   currently set in the reassigned case only are hereby VACATED. Henceforth, the caption on
 8   documents filed in the reassigned case shall be shown as, CIV.S-08-1453 FCD GGH.
 9          IT IS FURTHER ORDERED that the Clerk of Court make appropriate adjustment in the
10   assignment of the civil/criminal cases to compensate for this reassignment. The Clerk of Court
11   shall also issue an Order Requiring a Joint Status Report for the undersigned.
12          IT IS FURTHER ORDERED that pursuant to a stipulation between the parties, the time
13   for the government to file a dispositive pleading or answer the complaint is extended until
14   September 26, 2008.
15          IT IS SO ORDERED.
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17   DATED: September 2, 2008                    _______________________________________
                                                 FRANK C. DAMRELL, JR.
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                                                 UNITED STATES DISTRICT JUDGE
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